      Case 2:20-cv-00470-GMS Document 66 Filed 12/31/20 Page 1 of 2



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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Facebook Incorporated, et al.,                   No. CV-20-00470-PHX-GMS
10                 Plaintiffs,                        ORDER
11   v.
12   Namecheap Incorporated, et al.,
13               Defendants.
14   WhoisGuard, Inc.,
15                        Counterclaimant,
16   v.
17   Facebook, Inc.,
18                        Counterclaim
                          Defendant.
19
20
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22         Pending before the Court is the European Center for Digital Rights’ (“NOYB”)
23   Motion for Leave to File Brief of Amicus Curiae. (Doc. 43.) NOYB seeks to file a brief
24   to assist in the Court’s understanding of the European Union General Data Protection
25   Regulation (“GDPR”). As the Court did not need to consider the GDPR in ruling on
26   Defendants’ motions to dismiss, an amicus curiae brief on the issue is not helpful to the
27   Court. However, if a later motion before this Court involves a similar issue, NOYB may
28   move for leave to file an amicus curiae brief then. Accordingly,
      Case 2:20-cv-00470-GMS Document 66 Filed 12/31/20 Page 2 of 2



 1         IT IS THEREFORE ORDERED that the European Center for Digital Rights’
 2   Motion for Leave to File Brief of Amicus Curiae (Doc. 43) is DENIED as moot.
 3         Dated this 31st day of December, 2020.
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